           Case 19-36089 Document 46 Filed in TXSB on 02/05/20 Page 1 of 2



                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION                                                  ENTERED
                                                                                                      02/05/2020
    IN RE:                                              §   CASE NUMBER: 19-36089
    ELISA CASTROLUGO,                                   §
    DEBTOR                                              §   CHAPTER 7
                                                        §
    USAA FEDERAL SAVINGS BANK, ITS                      §
    SUCCESSORS IN INTEREST AND/OR                       §
    ASSIGNS, MOVANT                                     §
                                                        §
    VS.                                                 §   HEARING ON MOTION
                                                        §   TO LIFT STAY
                                                        §   February 10, 2020
                                                        §
    ELISA CASTROLUGO                                    §
    DEBTOR, AND RANDY W WILLIAMS,                       §
    CHAPTER 7 TRUSTEE, RESPONDENTS                      §
                                                        §   TIME: 1:30 PM

                              ORDER TERMINATING STAY AS TO
                           1342 NASHUA STREET, HOUSTON, TX 77008
                                      (DOCKET NO. 33)

          On this date, came on to be heard Movant, Nationstar Mortgage LLC as mortgage servicer for

USAA FEDERAL SAVINGS BANK's Motion for Relief from Automatic Stay. All parties announced to

the Court that an Agreement had been reached. Pursuant to that Agreement:

          IT IS ORDERED THAT the Automatic Stay of 11 U.S.C.§362 is hereby terminated as to

Movant, its successors in interest and assignees, so that Movant may proceed to foreclose its lien (subject

to the provisions of this Order) and pursue its statutory and contractual remedies pursuant to the terms of

the Deed of Trust in order to gain possession of the real property described as:

          LOT NINE HUNDRED EIGHTY-SIX (986), OF THE HEIGHTS ANNEX, AN
          ADDITION IN HARRIS COUNTY, TEXAS, ACCORDING TO THE MAP OR PLAT
          THEREOF RECORDED IN VOLUME 5, PAGE 34 OF THE MAP RECORDS OF
          HARRIS COUNTY, TEXAS
          (“the Property”)

          IT IS FURTHER ORDERED that all communications including but, not limited to, notices

required by state law, sent by Movant, its successors in interest and assignees, in connection with

proceeding against the Property may be sent directly to the Debtor; provided, however copies shall be

sent to the Trustee.
                                           AGREED OTS/CH13/JOINT
                                              16-024993 - BK01
          Case 19-36089 Document 46 Filed in TXSB on 02/05/20 Page 2 of 2



        IT IS FURTHER ORDERED that Movant can take any and all action to foreclose on its lien,

provided that Movant may not post the Property for sale for ninety (90) days after the entry of this Order.

        IT IS FURTHER ORDERED that all outstanding liens are to be paid in full upon the sale of the

Property by the Chapter 7 Trustee, unless expressly agreed in writing by Movant. If the proceeds are not

sufficient to pay all liens in full at closing ad Movant has not expressly agreed in writing to a short sale,

the sale shall not close.

        IT IS FURTHER ORDERED that the fourteen-day provision of Federal Bankruptcy Rule 4001

(a)(3) is waived and Movant, its successors in interest and assignees, may immediately implement and

enforce this order. It is further

                  February 05, 2020      ###END OF ORDER###




APPROVED AS TO FORM AND CONTENT:                          NO OPPOSITION



/s/ H. Gray Burks                                         /s/ Marc Douglas Myers
Grant M. Tabor                                            Marc Douglas Myers
State Bar No.: 24027905                                   Ross, Banks, May, Cron & Cavin, P.C.
E-mail: gtabor@logs.com                                   SBN 00797133
H. Gray Burks, IV                                         7700 San Felipe, Suite 550
State Bar No. 03418320                                    Houston, TX 77063
Email: gburks@logs.com                                    Telephone: (713) 626-1200
Shapiro Schwartz, LLP                                     Facsimile: (713) 623-6014
13105 Northwest Freeway, Suite 1200                       mmyers@rossbank.com
Houston, TX 77040                                         Counsel for the Chapter 7 Trustee
Telephone: (713) 462-2565
Facsimile: (847) 879-4856
Attorneys for Nationstar Mortgage LLC
                                                          /s/ Elisa Castrolugo
                                                          Elisa Castrolugo
                                                          Pro Se Debtor/ Attorney Pro Hac Vice
                                                          SBOT #24040662
                                                          12003 Oak Cluster East
                                                          Magnolia, TX 77354
                                                          Pro Se Debtor


                                           AGREED OTS/CH13/JOINT
                                              16-024993 - BK01
